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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 910 E MAIN LLC D/B/A QUARTER          CIVIL ACTION NO.__________
 TAVERN; BUBBA’S SALOON, LLC;
 CJD III LLC D/B/A TWISTED TAVERN;
 DOUG MCCARTHY ENTERPRISES INC.
 D/B/A 501; EMERALD BILLIARDS, L.L.C.; DISTRICT JUDGE __________________
 MULLIGAN’S ON THE TECHE, L.L.C.
 D/B/A CANTINA’S DOWNTOWN; MY
 PLACE BAR & GRILL, L.L.C.;
 NAPOLEONS ON THE TECHE, LLC; POOL MAGISTRATE JUDGE ______________
 DO’S SPORTS BAR LLP; SOCO SPORTS
 BAR, LLC; YED ENTERPRISES LLC D/B/A
 DEWEY’S LOUNGE
                                       JURY DEMAND

 VERSUS

 JOHN BEL EDWARDS,
 IN HIS OFFICIAL CAPACITY
 AS GOVERNOR OF THE STATE OF
 LOUISIANA; AND H. “BUTCH”
 BROWNING, JR., IN HIS OFFICIAL
 CAPACITY AS FIRE MARSHAL OF
 THE STATE OF LOUISIANA




         EXHIBIT E
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